Case No. 1:21-cr-00392-RM Document 47 filed 06/02/22 USDC Colorado pg1of7

AO 245B (CO Rev. 11/20) Judgment in a Criminal Case

UNITED STATES DISTRICT COURT

District of Colorado

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )
DANIEL STONEBARGER Case Number: 1:21-cr-00392-RM-1
USM Number; 77304-509
) Daniel R Perlman
) Defendant's Attorney
THE DEFENDANT:
X] pleaded guilty to count(s) 1 ofthe Information.
OC pleaded nolo contendere to count(s)
which was accepted by the court.
C] was found guilty on count(s)
after a plea of not puilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 U.S.C, § 1343 Wire Fraud 04/05/2020 !
The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
("] The defendant has been found not guilty on count(s)
L] Count(s) Ol is (1 are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid, If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances,

May 26, 2022 mo

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TE ee.
Lee adh. fe A mane

A ad

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wt
Raymond P, Moore, United States District Judge

Name and Title of Judge
eee

Cou A to.

Date
‘Case No. 1:21-cr-00392-RM Document 47 filed 06/02/22 USDC Colorado pg 2of7

AO 245B (CO Rev, 11/20) Judgment in Criminal Case

DEFENDANT; DANIEL STONEBARGER

Judgment — Page 2 of 7

CASE NUMBER: 1:21-cr-00392-RM-1

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
Forty-one (41) months,

The court makes the following recommendations to the Bureau of Prisons:

The Court recommends the defendant be admitted into RDAP and that he be designated to a facility in or near the District of South
Dakota as his family is in the process of relocating to that area.

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:
Cl sat Cl am OO pm, on
[1 as notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

before 12 p.m. Within 15 days of designation

C] as notified by the United States Marshal.

2d as notified by the Probation or Pretrial Services Office.

RETURN

T have executed this judement as follows:

at

Defendant deliveredon to

, with 4 certified copy of this judgment.

UNITED STATES MARSHAL

By

DEPUTY UNITED STATES MARSHAL
Case No. 1:21-cr-00392-RM Document 47 filed 06/02/22 USDC Colorado pg 3of7

AO 245B (CO Rev. 11/20) Judgment in Criminal Case

Judgment— Page 3 of 7

DEFENDANT: DANIEL STONEBARGER
CASE NUMBER: 1:21-cr-00392-RM-1

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: Three (3) years.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
. You must not unlawfully possess a controlled substance,
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and a maximum of 20 tests per year of supervision thereafter.
1 The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse. (check if applicable)
4, 6 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check ifapplicable}
5. bd You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

Cl You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense, (check if applicable)

7. [1 You must participate in an approved program for domestic violence. fcheck if applicable)

Bo hee

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
Case No. 1:21-cr-00392-RM Document 47 filed 06/02/22 USDC Colorado pg 4of7

AO 245B {CO Rev. 11/20) Judgment in Criminal Case

Judgment — Page 4 of wd

DEFENDANT: DANIEL STONEBARGER
CASE NUMBER: 1:21-cr-00392-RM-1

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.

11.

12.

You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
time frame.

After initially reporting to the probation office, you will receive instructians from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer,

You must answer truthfully the questions asked by your probation officer,

You must live at a place approved by the probation officer, If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so, If you do not have full-time employment you must try to find full-time employment, unless the probation officet excuses
you from doing so, If you plan to change where you work or anything about your worl (such as your position or your job
responsibilities), you must notify the probation officer at least 1¢ days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

Lf you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

You must not own, possess, ar have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers),

You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may, after
obtaining Court approval, notify the person about the risk or require you to notify the person about the risk and you must comply
with that instruction. The probation officer may contact the person and confirm that you have notified the person about the risk,

You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview af Probation and Supervised
Release Conditions, available at: www.uscourts gov.

Defendant's Signature Date

Case No. 1:21-cr-00392-RM Document 47 filed 06/02/22 USDC Colorado pg 5 of 7

AO 245B (CO Rev. 11/20) Judgment in Criminal Case
Judgment— Page 5 of
DEFENDANT: DANIEL STONEBARGER
CASE NUMBER: 1:21-cr-00392-RM-1

12.

SPECIAL CONDITIONS OF SUPERVISION

Tf the judgment imposes a financial penalty/restitution, you must pay the financial penalty/restitution in accordance with the
Schedule of Payments sheet of this judgment. You must also notify the court of any changes in economic circumstances that
might affect your ability to pay the financial penalty/restitution.

You must not incur new credit charges or open additional lines of credit without the approval of the probation officer, unless you
are in compliance with the periodic payment obligations imposed pursuant to the Court’s judgment and sentence.

You must apply any monies received from income tax refinds, lottery winnings, inheritances, judgments, and any anticipated or
unexpected financial gains to the outstanding court-ordered financial obiigation in this case.

You must provide the probation officer access to any requested financial information and authorize the release of any financial
information.

if you have an outstanding financial obligation, the probation office may share any financial or- employment documentation
relevant to you with the Asset Recovery Division of the United States Attorney's Office to assist in the collection of the
obligation.

You must document all income and compensation generated or received from any source and must provide that information to the
probation officer as requested.

Any business you operate during the term of supervision must be approved by the probation officer. You must operate under a
formal, registered entity, and you must provide the probation officer with the name of the business entity and its registered agents.
You must maintain business records and provide all business documentation and records as requested by the probation officer.
Assuming all of these requirements are met, the probation officer must approve the business.

You must not cause or induce others to register a business entity on your behalf, conduct any financial transaction on your behalf,
or maintain funds on your behalf.

You must maintain separate persona! and business finances and must not co-mingle personal and business funds or income in any
financial accounts, including but not limited to bank accounts and lines of credit.

. You must comply with ail legal obligations associated with the Colorado Department of Revenue and the Internal Revenue

Service regarding federal and state income taxes, This includes resolution of any tax arrearages as well as continued compliance
with federal and state laws regarding the filing of taxes.

. You must participate in a program of cognitive behavioral treatment (CBT) approved by the probation officer and follow the rules

and regulations of such program. The probation officer, in consultation with the treatment provider, will supervise your
participation in the program as to modality, duration, and intensity. You must pay for the cost of treatment based on your ability
to pay.

You must participate in a program of testing and/or treatment for substance abuse approved by the probation officer and follow
the rules and regulations of such program. The probation officer, in consultation with the treatment provider, will supervise your
participation in the program as to modality, duration, and intensity, You must abstain from the use of alcohol or other intoxicants
during the course of treatment. You must net attempt to obstruct, tamper with or circumvent the testing methods. You rust pay
for the cost of testing and/or treatment based on your ability to pay
~Case No. 1:21-cr-00392-RM Document 47 filed 06/02/22 USDC Colorado pg 6of7

AO 245B (CO Rev, 11/20} Judgment in Criminal Case

Judgment — Page 6 of 7

DEFENDANT: DANIEL STONEBARGER
CASE NUMBER: 1:2 1-cr-00392-RM-1

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on the following page.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 100,00 § 822,604.08 $ 0,00 $ 0.00 § 0.00
(1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245¢) will be entered

after such determination,
& The defendant must make restitution (including community restitution) to the following payees in the amount listed below,

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i)}, all nontederal victims must be paid
before the United States is paid,

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
Colorado Department of Labor & Employment

Attn: Investigations and Criminal Enforcement

Unit (ICE)

Division of Unemployment Insurance

251 E. 12th Avenue

Denver, CO 80203-2237 $28,142.00 $28,142.00

Smal] Business Administration (EIDL/EIDG)-

721 19th Street

3rd Floor, Room 301

Denver, CO 80202 $306,600.00 $306,600.00

Smal! Business Administration (PPP)
721 19th Street
3rd Floor, Room 301

Denver, CO 80202 $487,862.08 $487,862.08
TOTALS $822,604.08 $822,604.08

[1 Restitution amount ordered pursuant to pleaagreement $

Cl The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the following page may be
subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

XI] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

] the interest requirement is waived for the L] fine & restitution.

LJ the interest requirement forthe OO fine (J restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Publ. L. No, 115-299,

** Tustice for Victims of Trafficking Act of 2015, Pub, L. No. 114-22,

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996,
Case No. 1:21-cr-00392-RM Document 47 filed 06/02/22 USDC Colorado’ pg 7 of 7

AO 245B (CO Rey. 11/20) Judgment in Criminal Case

Judgment— Page = 7s 7
DEFENDANT: DANIEL STONEBARGER

CASE NUMBER: 1:21-cr-00392-RM-1
SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A  O Lump sum paymentof $ due immediately, balance due

CI not later than ,or
[] inaceordancewih O c, O D, O E,or O  F below; or

B  & Payment to begin immediately (may be combined with OO C, QO D,or WF below); or

C O Paymentinequal _ (é.g., weekly, monthly, quarterly) installments of $  _ over a period of
(e.g., months or years),tocommence sss e.g, 30 or 60 days) after the date of this judgment; or

D © Paymentinequal =  —_ fe. weekly, monthfy, quarter) installmentsof $ == sera period of

___ (@.g., months or years), to commence (2.g., 30 ar 60 days) after release from imprisonment to a

term of supervision; or

EO Payment during the term of supervised release will commence within fe.g., 30 or 60 days) after release from
imprisonment, The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F Special instructions regarding the payment of criminal monetary penalties:

The special assessment and restitution are due immediately, Any unpaid monetary obligations upon release from incarceration
shall be paid in monthly installment payments during the term of supervised release. The monthly installment payment will be
calculated as at least [0 percent of the defendant’s gross monthly income.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment, Afl criminal monetary penalties, except those payments made through the Federai Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

1 Joint and Several

Case Number
Defendant and Co-Defendant Names Corresponding Payee, if
(including defendant number) Total Amount Joint and Several Amount appropriate

[1 The defendant shali pay the cost of prosecution,
Cl The defendant shall pay the following court cost(s):

( The defendant shal! forfeit the defendant’s interest in the following property to the United States:
A money judgment shall enter in the amount of $882,794.50 representing proceeds obtained from the defendant’s scheme. With respect
to the money judgment, the defendant shall be credited the following: $548,861.29 seized from Account No. xxxx-xxxx-6774, account
title Finish Armor, LLC, seized in Civil Case No, 21-mc-00138-SKC; 2) the value of the 2016 Land Rover Range Rover, seized in
Civil Case No. 21-mc-00142-SKC; and $74,900 which was returned to the USSS by the defendant's father.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) VTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs,
